Case: 4:24-cr-00308-HEA           Doc. #: 2     Filed: 06/18/24         Page: 1 of 1 PageID #: 8
                                                                                      FILED
                                                                                    JUN 18 2024
                                                                                  U. S. DISTRICT COURT
                               UNITED STATES DISTRJCT COURT                     EASTERN DISTRICT OF MO
                                                                                        ST.LOUIS
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STA TES OF AMERJCA,                           )
                                                     )
           Plaintiff,                                )
                                                     )
V.                                                   )
                                                     )
                                                           4:24CR308 HEA
RONALD SIMPSON,                                      )
                                                     )
           Defendant.                                )

                        GOVERNMENT'S ENTRY OF APPEARANCE


     COME NOW Sayler A. Fleming, United States Attorney for the Eastern District of Missouri,

and Derek J. Wiseman, Assistant United States Attorney, and hereby enter their appearance on

behalf of the United States.

                                              Respectfully submitted,

                                              SAYLER A. FLEMING
                                              United States Attorney



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